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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 ----------------------------------------- X
 In Re BOAZ BAGBAG,                                            Chapter 7

                            Debtor.                            Case No. 08-12667 (MEW)


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 SUMMA CAPITAL CORP.,                                          Adv. No. 20-1185 (MEW)

                            Petitioner,                        NOTICE OF APPEARANCE

               -against-

 BOAZ BAGBAG,

                     Respondent.
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      PLEASE TAKE NOTICE that Abrams, Fensterman, Fensterman, Eisman,

Formato, Ferrara, Wolf & Carone, LLP, by Christopher A. Gorman, appears as co-

counsel for debtor/respondent, Boaz Bagbag, in the above-captioned matter as of the

date hereof.

Dated: June 3, 2021
                                          ABRAMS, FENSTERMAN, FENSTERMAN,
                                          EISMAN, FORMATO, FERRARA, WOLF &
                                          CARONE, LLP


                                          By:
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                                                Boaz Bagbag
To: All parties (by ECF)
